IN THE UNITED STATES [§SVRJ(§: Q)URT

FoR THE EASTERN DISTRICT oF TENNESSE_E
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LIBERTY MUTUAL FIRE INSURANCE COM " §':‘ ~

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Plaintiff, “' d

v. No. 1 ‘r WFCV’F'L~] l
» ' 6 C..

A STAFFING KOMPANY, INC., adhch L
APPS, INC., .]ERRY SCHEIB,
LORETTA SCHEIB, and
DORIS BURNS,

Defendants.

 

COMPLAINT

 

COMES NOW the plaintiff Liberty Mutual Fire Insurance Cornpany, by and through its

undersigned counsel, tiles this Complaint and, for cause of action, states as follows:
PARTIES AND JURISDICTION

l. Plaintiff Liberty Mutual Fire Insurance Cornpany (hereinafter "Liberty Mutual"),
is a Wisconsin corporation with its principal place of business in Boston, Massachusetts.

2. Defendant A Staffing Kompany (hereinafter ““SK”), during the subject period,
was a Tennessee corporation With its principal place of business in Bradley County, Tennessee,
and is Within the jurisdiction of this court.

3. Defendant APPS, Inc. (“APPS”), during the subject period, was a Tennessee

corporation with its principal place of business in Bradley County, Termessee, and is within the

jurisdiction of this Court.

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4. Defendant Jerry Scheib (hereinafter “Mr. Seheib”), is a resident of Knox, County,
Tennessee, and is within the jurisdiction of this court.

5. Defendant Loretta Scheib (hereinafter “Mrs. Scheib”), is a resident of Bradley
County, Tennessee, and is within the jurisdiction of this Court.

6. Defendant, Doris Burns (hereinafter “Burns”), is a resident of Bradley County,
Tennessee, and is within the jurisdiction of this Court.

7. This Court has jurisdiction pursuant to 28 U.S.C. §1332 in that the amount in
controversy exceeds $75,000.00 exclusive of interest and costs and because there is complete
diversity of citizenship between the plaintiff and defendants

8. Venue is proper in this Court.

9. This case involves claims for unpaid workers’ compensation insurance premiums
under Tennessee common law causes of actions for breach of contract, breach of the covenant of
good faith and fair dealing, fraud, negligent misrepresentation, and unjust enrichment

lO. This case, originally filed in this Court in 2004 under case number l:04-cv-209,
was settled in 2007 pursuant to a Settlement Agreement and Mutual Release (“the Agreement”),
which also settled a then pending administrative contested matter filed with the Tennessee
Department of Commerce and Insurance, docket number l7.28-076562A, styled Optz`mum
Stajjing, Inc. v. Liberty Mutual Insumnce Company.

ll. Pursuant to the Agreement, a third party, Optimurn Stat`t`ing, agreed to pay Liberty
Mutual $2 million to settle both the 2004 Litigation and the administrative matter, which sum

was to be paid over 4 years

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12. Optimum Staffing made all required payments pursuant to the Agreement after
execution in 2007 until earlier this year in 2009, at which time Optimum stopped making
payments

13. On August 10, 2009, Optimum Staffing filed for bankruptcy protection in the
United States Bankruptcy Court for the Eastern District of Tennessee, case number 09-15008.

14. Each of the individual defendants in this case signed the Agreement and
guaranteed the payment of the full settlement amount of $2 million as agreed to by the parties

15. Pursuant to the Agreement, upon a default of the payment of the settlement sum
by Optimum Staffing, Liberty Mutual, per its sole discretion, may choose to enforce the
Agreement or rescind the Agreement.

16. Liberty Mutual chooses to rescind the Agreement.

17. The Agreement further provides that should Liberty Mutual rescind the
Agreement, it may retain all dollars paid under the Agreement and apply those payments against
any final judgment or settlement

18. The parties further agreed in the Agreement that no statute of limitation or any
other defenses shall have inured to the benefit of any of the parties due to the passage of time
since the execution of the Agreement. Thus, this Complaint is timely.

19. The following are the same factual allegations and causes of action as stated in its
filed pleadings from the earlier filed case in 2004, With the only modification being the revision
to the amount of premium owed.

BACKGROUND ALLEGATIONS
20. In Tennessee, all employers with five or more employees are required to maintain

workers’ compensation insurance Some companies are not able to obtain workers’ compensation

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insurance in the voluntary market because of the company’s poor claims history, the hazardous
nature of its business activities, its small size or high premium costs. When an employer in
Tennessee is unable to obtain workers’ compensation coverage through the voluntary market, the
employer may apply for coverage under the Tennessee Workers’ Compensation Insurance Plan
(hereinafter “Tennessee Plan”).

21. During the operative period for this case, AON was the state-appointed
administrator of the Tennessee Plan.

22. In order to apply for coverage under the Tennessee Plan, the employer must
submit to AON a written application and an estimated premium deposit computed from, in part,
premium formulas generated by AON and approved by the Tennessee Department of Comrnerce
and Insurance.

23. Upon receipt of the application and premium deposit, AON issues a written
insurance binder to the employer and randomly designates an insurance carrier which issues a
policy of workers’ compensation insurance in its own name.

24. Since an insured’s actual premium must match the risk being insured, the
estimated premium stated on the application provided to AON is subject to audit and revision by
the carrier to whom the employer has been assigned

25. An employer’s actual workers’ compensation insurance premium is determined,
to a large degree, by the product of the following three (3) factors:

(a) size of payroll;
(b) the rate corresponding to the classification code(s) for the type of work the

insured’s employees perform; and

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(c) the “experience modification factor” (hereinafter “MOD”), which is
determined by the particular employer’s risk history or, in other words, the employcr’s safety
record.

26. Since the MOD is one of the three factors used to determine the actual premiums
owed by an insured, the previous safety record of an insured is essential in determining the
exposure which the insurance company undertakes and for which it should be eompensated,
based on the likelihood that an insured with a poor safety record (relative to other employers
engaged in the same business) will continue to have higher than average claims.

27. A M()D is a multiplier calculated by the National Council on Compensation
Insurance (“NCCI”), a statistical rating corporation located in Florida, based on data regarding
previous claims, premium and payroll submitted to NCCI by the employed s previous insurers
F or example, a MOD of 1.0 represents the industry average for similar employers; therefore, a
MOD of 3.0 would indicate that an employer’s loss history is three times the industry average
and that, therefore, this employer’s estimated premium would be multiplied by three.

28. Pursuant to the Tennessee Plan, a newly chartered corporate entity, one with no
previous employment or loss experience, loss history or safety record is assigned a beginning
MOD of 1.0 since such employer has no loss history to measure and, therefore, is allowed to
begin at the industry-average level. NCCI assigns the MOD for each employer applicant
consistent with the Experience Rating Plan Manual, as broadly mandated by the legislature and
as specifically approved by the Tennessee Department of Commerce and lnsurance. The
assignment of the MOD by NCCI presupposes that there has been a full and frank disclosure of

the identity, ownership, loss history, and/or conduct of the employer applicant

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29. The Experience Rating Plan Manual specifically prohibits any action taken in any
form to evade the determination and application of a correct MOD.
FACTUAL ALLEGATIONS

A. Facts Relavant to the Defendants’ Avoidance of ASK’s Actual Experience
Modification Factor.

30. Prior to April 2000, Mr. Scheib controlled and was the president of APPS, Inc.
(“APPS”), a company then engaged in the business of providing temporary workers to its clients.

31. Mrs. Scheib was the l00 percent owner of APPS.

32. Prior to requesting cancellation of coverage, APPS operated out of two loeations:

a. 1300 25th Street Plaza, Cleveland, Tennessee; and
b. 506 Maple Street, Athens, Tennessee.

33. As APPS had been in business for several years and had a poor loss history, by
January 2000 it had developed a MOD of 1.83, which would be effective on its new policy set to
renew on 03/23/00.

34. APPS initially sought renewal of its insurance through the Tennessee Plan and
submitted an application to AON for a policy beginning 03/23/00 and disclosed a premium due
of $185,300.

35 . Rather than pay this premium or install new safety measures to lower its premium
in the future, Mr. Scheib requested cancellation of this policy on April 4, 2000, claiming APPS
was going out of business

36. Recognizing that APPS’s workers' compensation insurance premium would
become, at a minimum, eighty-three percent greater than the industry average (due to the APPS
MOD of 1.83), Mr. and Mrs. Scheib, with the assistance and/or acquiescence of Burns, took

steps to incorporate ASK as a “new” company to obtain a beginning neutral MOD or 1.0 and,

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thus, avoid such the eighty-three percent increase to its workers' compensation insurance
premium.

37. ASK was formed in April 2000 and, at all times pertinent to this lawsuit, was
engaged in the identical business as APPS, namely the business of providing temporary staffing
to its clients.

38. On its application to AON for workers' compensation insurance under the
Tennessee Plan, ASK reported its business address as 440 Centenary, Cleveland, Tennessee, and
its president and 100 percent owner as Burns.

39. According to the federal income tax returns filed on behalf of ASK, secured by
Liberty Mutual from third persons during this litigation, Mrs. Scheib was, in fact, the 100 percent
owner of ASK.

40. Six months after the application was submitted to AON, ASK requested an
endorsement to add three office locations to the policy issued to ASK with the endorsement
effective date to be the same as the policy effective date, namely April 14, 2000.

41. Two of the three added locations were the same addresses as APPS. The
Centenary address listed on the original application was the personal residence of Burns. ASK
never operated out of the Centenary address

42. The application submitted to AON on behalf of ASK did not disclose an accurate
estimate of its payroll, but instead misrepresented the estimated annual payroll of ASK by
disclosing only a portion of the payroll ($1 million) and only a small portion of the class codes
(four codes). In fact, in a test audit conducted just six months after the application, ASK’s payroll
was estimated to be almost $1.7 million, with the workers engaged in work.encompassing over

sixty class codes.

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43. The application submitted to AON on behalf of ASK disclosed a premium due of
only $29,189.

44. The application submitted to AON on behalf of ASK misrepresented and
fraudulently portrayed ASK as a new business with no previous history and did not disclose its
relationship and common management and/or ownership, in fact, with APPS.

45. Burns, although the nominal president and 100 percent owner of ASK, as reported
on the insurance application, was, in fact, not the 100 percent owner of ASK and was never
active in ASK. Indeed, for at least a portion of the policies in question, she was not listed on the
ASK payroll.

46. Mr. Scheib continued to control and manage ASK as he had done with APPS
regardless of who may have been afforded the nominal title of President. Indeed, Mr. Scheib
eventually became president of ASK.

47. Mrs. Scheib continued as the 100 percent owner of ASK, as she had been for
APPS. Burns, in fact, never owned or was involved in the business of ASK.

48. After AON processed the application, it bound coverage and assigned the risk of
ASK to Liberty Mutual Liberty Mutual thereafter issued a workers‘ compensation insurance
policy to ASK, policy number WC1-3SS-319515-010, for the period 04-14-00, to 04-14-01. This
policy was renewed by policy number WC1-358~319515-011 for the period 04-14-01, to
04-14-02. This policy was renewed by policy number WC1-319515-012 for the policy period
04-14-02, to 04-14-03. This policy was canceled effective November 21, 2002, for nonpayment
of premium.

49. The unpaid premium which resulted in the cancellation, as determined at the time,

was in the amount of $45,550 for the 04»14-01 to 04-14-02 policy, and $68,081 for the 04-14-02

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to 11-21-02 policy. These additional premiums do not relate to the defendants’ MOD avoidance
scheme. These premiums were simply the result of calculations using the MOD promulgated at
that time, together with the reported payroll and class codes.

50. Pursuant to its application submitted in April 2000, ASK portrayed itself to AON
as a new company.

51. Because ASK portrayed-itself as a new company, the MOD assigned to ASK in
April 2000 was a neutral MOD of 1 .0 rather than the actual and true MOD of 1.83 which APPS
had developed based upon its risk history up to April 2000.

52. By misrepresenting the relationship and common management and ownership that
in fact existed between APPS and ASK, ASK and the individual defendants took steps to avoid
the proper application of the correct MOD, thereby reducing its workers' compensation premiums
owed to Liberty Mutual during the three policy periods

53. After the incorporation of ASK, it operated out of the same locations as had
APPS.

54. After the incorporation of ASK, it continued to be controlled in fact by Mr.
Scheib, as had APPS.

55. After the incorporation of ASK, it continued to be owned by Mrs. Scheib, as had
APPS.

56. After the incorporation of ASK, it continued with substantially the same client
base as that of APPS.

57. After the incorporation of ASK, it continued to have the same general manager

and operation manager, which was Mr. Scheib.

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5 8. After the incorporation of ASK, it represented itself as a d/b/a for APPS in UCC
filings with the state of Tennessee.

59. After the incorporation of ASK, it continued to have the same phone numbers and
fax numbers as had APPS.

60. After the incorporation of ASK, Mr. Scheib reported to its accounts receivable
financier, that the move from APPS to ASK was a name change only.

61. ASK is the alter ego and/or successor corporation of APPS.

62. Since the risk history of APPS should have been combined with the risk history of
ASK, additional premium is owed based upon the true MOD for ASK.

B. F acts Relevant to the Det`endants’ Failure to Disclose the Entire Payroll and
Classiiication Codes for APPS and ASK and Failure to Cooperate in Audit.

63. APPS stated it went out of business in April 2000. It did not. It continued to stay
in business in its own name or through its successor and alter ego, ASK, through June 30, 2000,
billed its clients accordingly, incurred expenses, generated revenue, provided employees to its
clients, and paid its workers and officers

64. The officers, managers, and directors of APPS, although having requested that its
workers’ compensation insurance be canceled, had, in fact, secured coverage for its alter ego and
successor entity, ASK, effective April 2000, so that there was no lapse in coverage

65, The payroll of ASK or APPS from April 2000 to June 30, 2000, was not disclosed
in the final audit of APPS nor in the audit of ASK. No premium for this payroll has been paid at
any time to Liberty Mutual.

66. Documents secured from third parties during this litigation disclose payroll and

classification codes, and the modification factor of 1.83 developed by and assigned to APPS, all

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together produce additional premium owed for the 04-14-00 _ 04-14-01 policy, policy number
WCl-35S-319515-010, of$133,914.00.

67. Based upon calculations made during this litigation using the modification factor
developed by APPS, the total premium owed by ASK for the 04-14-01 ~»+- 04-14-02 policy,
policy number WCl-3SS~319515-011, of $246,971.00.

68. After ASK was disclosed as going out of business in November 2002, ASK did
not cooperate with the auditors of Liberty Mutual in order that it be allowed to conduct a final
audit for this policy period.

69. Based upon documents secured during this litigation from third parties and from
ASK, the true amount of payroll, classification codes and modification factor for this policy
period have been determined and result in the total premium still due and owing for the 04-14-02
_ 04-14-03 policy, policy number WC1358319515012, of $460,388.

70. The total premiums for all three policy periods have been invoiced during this
litigation, but the defendants have not paid any portion of these sums.

CAUSES OF ACTION
COUNT I
BREACH OF CONTR_ACT AS TO ASK AND APPS

71. Paragraphs l through 70 of the Complaint are realleged and incorporated herein
by reference.

72. On or about April 13, 2000, ASK made a written offer, through its written
application to AON, to purchase workers’ compensation insurance

73. AON assigned coverage to Liberty Mutual, thereby accepting ASK’s offer, and
Liberty Mutual issued three separate, consecutive policies:

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a. Policy number WC1-3SS-319515-010 for policy period 04-14-00 to
04-14-01;

b. Policy number WCl-3SS-3l9515-011 for policy period 04-14-01 to
04-14-02; and

c. Policy number WCl-BSS-319515-012 for policy period 04-14-02 to
04~14-03.

74. Under the terms of the policy contracts, ASK agreed to pay all premiums as
determined by Liberty Mutual through audit and pursuant to appropriate manual of Rules,
Regulations, Rating Plans and Classifications.

75. Under the terms of the policy contents, ASK agreed to cooperate with its insurer
in audits and not to take any steps to avoid the proper application of a MOD.

76. Liberty Mutual fully performed its obligations under each policy it issued to ASK.

77. Despite Liberty Mutual’s performance, ASK, in violation of its obligation and
promises under the policies failed to disclose all payroll and classification codes for the first and
third policies, failed to cooperate in the audit of the third policy, and, in order to avoid the proper
MOD applicable to the three policies issued by Liberty Mutual, wrongfully failed to disclose its
connection and relationship by common management and ownership, in fact, to APPS. By such
failures, ASK breached each policy.

78. Despite Liberty Mutual’s performance, ASK, in violation of its obligations and
promises under the policies, refuses to pay the full amount of premiums owed for the policies in

the following amounts:

a Policy WCl-3SS-3l9515-010 $133,914.00
b. Policy WCl-35S-319515~011 $246,971.00
c. Policy WCl-358-319515-012 $460,388.00
Total: $841,273.00

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79. As a proximate result of ASK’s breaches of the three policy contracts, there
remains due and owing to Liberty Mutual, at a minimum, the sum of $841,273.00 plus pre-
judgment interest. ASK has failed to pay this sum although proper demand for payment has been
made

COUNT II

BREACH OF COVENANT OF GOOD FAITH AND FAIR DEALING
AS TO ASK AND APPS

80. Paragraphs l through 79 of the Complaint are realleged and incorporated herein
by reference

81. By failing to disclose the full payroll and classification codes for all the policies
issued to ASK and by failing to disclose its connection to APPS in order to avoid the application
of the proper MOD for each policy issued by Liberty Mutual and avoid the resulting premium,
ASK breached the implied covenant of good faith and fair dealing which is contained in all
Tennessee contracts

82. As a proximate result of ASK’s breach of the covenant and good faith and fair
dealing, there remains due and owing to Liberty Mutual additional premium for all three policies,
plus pre-judgment interest, in the total amount of $841,273.

COUNT III
FRAUD AS TO ALL DEFENDANTS

83. Paragraphs l through 82 of the Complaint are realleged and incorporated herein
by reference

84. ASK, by and through its nominal president, Burns, with the knowledge and

assistance of Mr. Scheib, stated on the application submitted to AON that it was a new business

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85. The statements described in 11 74 were false

86. The Statements described in 11 74 were intentional.

87. ASK, by and through its nominal president, Burns, with knowledge and assistance
of Mr. Scheib, intentionally misrepresented on the application submitted to AON that its annual
payroll would only be $l,000,000, would be comprised only of four types of employees, and that
the premium owed would be approximately $29,189.

88. The statement described in 11 77 was false

89. The statement described in 11 77 was intentional

90. ASK, by and through its nominal president, Bums, with the knowledge and
assistance of Mr. Scheib, failed to disclose on the application submitted to NCCI its real office
locations so as to avoid disclosing its connection to APPS.

91. The failure to disclose described in 11 80 was intentional.

92. ASK, by and through its nominal president, Burns, with the knowledge and
assistance of Mr. and Mrs. Scheib, failed to disclose that the true 100 percent owner of ASK, as
reported to the IRS, was Mrs. Scheib, just as she was for APPS.

93. The actions described in ‘[[ 82 were intentional.

94. In the audits conducted by Liberty Mutual during the policy periods, ASK, by and
through its nominal president, Burns, and with the knowledge and assistance of Mr. Scheib,
continued to fail to disclose ASK’s connection to APPS.

95. The actions described in 11 84 were intentional.

96. Liberty Mutual relied upon the above representations made by ASK, by and
through its nominal president, Burns, and with the knowledge and assistance of Mr. Scheib and

Mrs. Scheib.

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97. Liberty Mutual’s reliance referenced in 11 86 was reasonable

98. Based upon the fraudulent application, misrepresentations in audits, lack of
cooperation in audit, intentional confusion and failure to disclose its connection through common
management or ownership, in fact, to APPS, ASK, by and through its nominal president, Burns,
and with the knowledge and assistance of Mr. and Mrs. Scheib, intentionally defrauded Liberty
Mutual in order for ASK to avoid paying the actual premium owed for the three policy periods

99. As a proximate result of the Defendants’ fraudulent acts and statements, Liberty
Mutual has been damaged

COUNT IV
NEGLIGENT MISREPRESENTATION AS TO ALL DEFENDANTS

100. Pleading in the alternative paragraphs l through 99 of the Amended Complaint
are realleged and incorporated herein by reference

101. The statements described in 1111 74, 77, and 80 were misrepresentations and the
actions taken in 1111 82 and 84 were intended to deceive or mislead.

102. ASK, by and through its nominal president, Burns, and with the knowledge and
assistance of Mr. and Mrs. Scheib, were negligent in making the statements described in 1111 74,
76 and 79 and taking the misleading actions described in 1111 82 and 84.

103. ASK, by and through its nominal president, Burns, and with the knowledge and
assistance of Mr. and Mrs. Scheib, Were negligent in their failure to disclose and other actions
described above

104. Liberty Mutual relied upon the representations made by ASK, Burns, Mr. Scheib,

and Mrs. Scheib.

105. Liberty Mutual’s reliance described in 11 93 was reasonable

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106. As a proximate result of the defendants’ negligent acts and statements Liberty
Mutual has been damaged

107. It was foreseeable that Liberty Mutual would rely upon the representations made
in the application and in the subsequent audits and other contacts and communications between it
and the Defendants to determine the premiums owed for the policies at issue

COUNT V7
UNJUST ENRICHMENT AS TO ALL DEFENDANTS

108. Paragraphs 1 through 107 of the Complaint are realleged and incorporated herein
by reference

109. By avoiding the true risk, payroll, classification codes, actual MOD and the
resultant premium owed for the three policy periods, through the creation of ASK, the successor
and/or alter ego of APPS, ASK and its owners and officers has been unjustly enriched by
receiving workers’ compensating insurance coverage for the three periods at a rate less than the
rate which would have accurately compensated Liberty Mutual for the risk it insured

COUNT VI
CIVIL CONSPIRACY AS TO ALL DEFENDANTS

110. Paragraphs 1 through 109 of the Complaint are realleged and incorporated herein
by reference

111. Burns, Mr. Scheib and Mrs. Scheib, each had the common design to defraud
Liberty Mutual by underpaying the workers’ compensation insurance due Liberty Mutual for the

policies at issue

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112. By engaging in overt acts described in paragraphs 82, 85, 88, 90 and 92, Mr.
Scheib, Mrs. Scheib and Burns were each acting in concert and to the detriment of Liberty
Mutual.

PRAYER FOR RELIEF

WHEREFORE, PREMISES CONSIDERED, Liberty Mutual prays:

a. For process to issue to the new defendants and an answer be required from
all defendants;
b. For compensatory damages against the defendants in the amount of Eight

Hundred Forty-One Thousand Two Hundred Seventy Three Dollars ($841,273);

c. F or punitive damages;
d. F or attorney fees; and
e. F or such other and further relief as justice demands

Respectfully submitted

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